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UNITED STATES DISTRICT COURT ENO ae
SOUTHERN DISTRICT OF NEW YORK W DATE E
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ZEHRA JAFFERY,
Plaintiff,
ORDER
-against-

20 Civ. 3437 (GBD)
DOWNTOWN PHARMACY, INC. et al.,

Defendants.

GEORGE B. DANIELS, United States District Judge:
Oral argument on Defendants’ motion to dismiss, (ECF No. 9), is adjourned from

November 4, 2020 to November 5, 2020 at 10:30 a.m.

Dated: New York, New York
October 19, 2020
SO ORDERED.

Gobty B, Dons

GEPRG . DANIELS
ed es District Judge

 
